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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
      Plaintiff,                              )
                                              )
      vs.                                     )     Case No. 4:07CR81 HEA
                                              )
JESUS ENRIQUE VALDES, RUBEN                   )
VERDUGO and ROSETTA MAENELLE                  )
BRISTON,                                      )
                                              )
       Defendants.                            )


                                      ORDER

      This matter is before the Court on Defendant Ruben Verdugo’s the Motion to

Suppress, [Doc. No. 51] and Defendant Rosetta Maenelle Briston’s Motion to

Suppress Evidence and Statements, [Doc. No. 52]. The Court referred this matter

to United States Magistrate Judge Audrey G. Fleissig for a report and

recommendation on all pretrial matters pursuant to 28 U.S.C. § 636(b). On March

20, 2007, Judge Fleissig filed her Report and Recommendation that the motions to

suppress be denied. Judge Fleissig notified the parties that they had eleven (11)

days within which to file objections. To date, no objections to the recommendation

have been filed by either party.
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      After careful consideration, the Court will adopt and sustain the sound and

thorough reasoning of Judge Fleissig as set forth in her Report and

Recommendation.

      Accordingly,

      IT IS HEREBY ORDERED that the Motion to Suppress filed by

Defendant Ruben Verdugo [Doc. No. 51] is denied.

      IT IS FURTHER ORDERED that the Motion to Suppress Evidence and

Statements filed by Defendant Rosetta Maenelle Briston [Doc. No. 52] is denied.

      Dated this 4th day of April, 2007.



                                         _______________________________
                                            HENRY EDWARD AUTREY
                                         UNITED STATES DISTRICT JUDGE




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